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                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA

Aileen W. Jackson,                           )
                                             )
       Plaintiff,                            )
                                             )         Civil Action No. 9:13-741-RMG
       vs.                                   )
                                             )
Carolyn W. Colvin, Acting Commissioner       )
of Social Security,                          )         ORDER
                                             )
        Defendant.                           )


       Plaintiff has brought this action pursuant to 42 U.S.C. § 405(g) seeking judicial review of

the final decision of the Commissioner of Social Security denying her claim for Disability

Insurance Benefits ("DIB") and Supplemental Security Income ("SSI"). In accord with 28

U.S.C. § 636(b) and Local Civil Rule 73.02 DSC, this matter was referred to a United States

Magistrate Judge for pre-trial handling. The Magistrate Judge issued a Report and

Recommendation on June 30, 2014, recommending that the Court affirm the decision of the

Commissioner. (Dkt. No. 19). The Plaintiff filed objections to the Report and Recommendation,

and the Commissioner filed a reply. (Dkt. No. 23, 24). As more fully set forth below, the Court

reverses the decision of the Commissioner and remands the matter for further action consistent

with this order.

                                        Legal Standard

       The Magistrate Judge makes only a recommendation to this Court. The recommendation

has no presumptive weight, and the responsibility to make a final determination remains with the

Court. Mathews v. Weber, 423 U.S. 261 (1976). The Court is charged with making a de novo



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determination of those portions of the Report and Recommendation to which specific objection is

made. The Court may accept, reject, or modify, in whole or in part, the recommendation of the

Magistrate Judge. 28 U.S.C. § 636(b)(1).

          The role of the federal judiciary in the administrative scheme established by the Social

Security Act is a limited one. The Act provides that the "findings of the Commissioner of Social

Security as to any fact, if supported by substantial evidence, shall be conclusive." 42 U.S.C.

§ 405(g). "Substantial evidence has been defined innumerable times as more than a scintilla, but

less than preponderance." Thomas v. Celebrezze, 331 F.2d 541,543 (4th Cir. 1964). This

standard precludes de novo review of the factual circumstances that substitutes the Court's

findings of fact for those of the Commissioner. Vitek v. Finch, 438 F.2d 1157, 1157 (4th Cir.

1971 ).

          Although the federal court's review role is a limited one, "it does not follow, however,

that the findings of the administrative agency are to be mechanically accepted. The statutorily

granted right of review contemplates more than an uncritical rubber stamping of the

administrative action." Flack v. Cohen, 413 F.2d 278, 279 (4th Cir. 1969). Further, the

Commissioner's findings of fact are not binding if they were based upon the application of an

improper legal standard. Coffman v. Bowen, 829 F.2d 514, 519 (4th Cir. 1987).

          The Commissioner, in passing upon an application for disability benefits, is required to

undertake a five-step sequential process. At Step One, the Commissioner must determine

whether the applicant is engaged in substantial gainful work. 20 C.F.R. § 404.1 520(a)(4)(i). If

the claimant is not engaged in substantial gainful employment, the CommissiQner proceeds to

Step Two, which involves a determination whether the claimant has any "severe medically


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determinable physical or mental impairment." Id. § 404.lS20(a)(4)(ii). If the claimant has one

or more severe impairments, the Commissioner proceeds to Step Three, which involves a

determination whether any impairment of the claimant satisfies anyone of a designated list of

impairments that would automatically render the claimant disabled. Id. § 404.1S20(a)(4)(iii).

Where the claimant has mUltiple impairments but none satisfy independently the criteria for a

listed impairment, the Commissioner is obligated to consider the combined effect of the various

impairments and determine whether they are the medical equivalent of the criteria of a listed

impairment. 42 U.S.C. § 423(d)(2)(B); Walker v. Bowen, 889 F.2d 47, 49-S0 (1989); 20 C.F.R.

§ 416.1S26(b)(ii).

       If the claimant does not have a listed impairment or the medical equivalent of a listed

impairment, the Commissioner must proceed to Step Four, which involves an assessment of the

claimant's Residual Functional Capacity ("RFC"). 20 C.F.R. § 404.lS20(a)(4)(iv). This requires

assessment of the claimant's ability "to meet the physical, mental, sensory, and other

requirements of work." Id. § 404. 1S45(a)(4). In determining the claimant's RFC, the

Commissioner "must first identify the individual's functional limitations or restrictions" and

provide a narrative "describing how the evidence supports each conclusion, citing specific

medical facts ... and nonmedical evidence." SSR 96-8P, 61 Fed. Reg. 34474,34475,34478

(July 2, 1996). To the extent the claimant has more than one mental or physical impairment, the

Commissioner must consider the combined effect of the claimant's multiple impairments, rather

than fragmentize them, and explain her "evaluation of the combined effects of the impairments."

Walker v. Bowen, 889 F.2d at 50.




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       Once the claimant's RFC is determined, the Commissioner must assess whether the

claimant can do his past relevant work. 20 C.F.R. §§ 404.1S20(4)(iv), 1545(a)(5)(i). If the

claimant, notwithstanding the RFC determination, can still perform his past relevant work, he is

deemed not to be disabled. If the claimant cannot perform his past relevant work, the

Commissioner then proceeds to Step Five to determine ifthere is other available "work which

exists in significant numbers either in the region where [the claimant] lives or in several regions

of the country" he can perform in light of the RFC determination. 42 U.S.C. § 423(d)(2)(A); 20

C.F.R. § 404. 1520(a)(4)(v). At Step Five, the burden shifts to the Commissioner to "show that

the claimant retains the capacity to perform an alternative work activity and that this specific type

ofjob exists in the national economy." Grant v. Schweiker, 699 F.2d 189,191 (4th Cir. 1983).

                                            Discussion

       Plaintiff was 44 years of age when she applied for disability benefits in March 2010. She

asserted, and the Administrative Law Judge ("ALR") found, at Step Two that she had a wide

array of severe physical and psychiatric impairments, including degenerative disc disease, PTSD,

mood disorder, neck pain, irritable bowel syndrome, obesity, hypertension, interstitial cystitis and

depression. Transcript of Record ("Tr.") 17. The ALJ found at Step Three that Plaintiff did not

have any impairment or combination of impairments that met any Listing. Tr. 18. The ALJ

further determined at Step Four that Plaintiff was limited by her impairments to less than the full

scope of sedentary work, which included the requirement of a sit/stand option and simple

repetitive tasks in a low stress environment with no public contact and only limited contact with

co-workers. Tr. 20. Plaintiff was also explicitly limited to only occasionally lifting 10 pounds.

Id Despite these significant limitations on her work related activities, the ALJ determined at


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Step Five Plaintiff was not disabled under the Social Security Act because there still existed jobs

in significant numbers in the national economy that she could perform despite her severe

impairments. Tr. 25.

       It is important to note at the outset that under the ALJ's findings and analysis, Plaintiffs

impairments fall ever so slightly short of a finding of disability. She has been deemed by the

ALJ to be limited to a less than the full scope of sedentary work, the most impaired level a

claimant can have and still be considered capable of performing work. Under these

circumstances, an erroneous application of a controlling legal standard can have an oversized

significance since it may tip an extraordinarily close case over from non-disability to disability.

       A.       The ALJ's finding that he accorded the opinion of Plaintiff's counselor,
                Thais Ponder, no weight because as a counselor she "is not considered an
                'acceptable medical source.'"

       Plaintiff challenges the finding of the ALJ that he gave no weight to the opinions of her

mental health counselor because she was not an "acceptable medical source" under Social

Security Regulations. Tr.24. Plaintiff further argues that the ALJ improperly discounted Ms.

Ponder's opinions on the basis that there was not substantial support in the record to support her

opinions. Id.

       The administrative record in this matter, numbering over 900 pages, includes treatment

records of a broad range of Plaintiff s health care providers, including those providing mental

health treatment. The mental health records document the claimant's long history of mental

health challenges, including prior suicide attempts and diagnoses of PTSD relating to childhood

traumas and sexual abuse, recurrent major depressive disorder, and mood disorder related to her

general medical condition. Tr. 631, 639, 843, 848, 852, 855. A consulting non-treating


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examiner, Mark A. McClain, Ph.D., found Plaintiff in March 2008 to be "experiencing

significant symptoms of depressed mood, panic disorder and posttraumatic stress disorder." Tr.

480-83. A follow up examination by Dr. McClain conducted in July 2010 reported that Plaintiff

had "significant symptoms of depressed mood and anxiety" and "most likely [was] experiencing

symptoms associated with bipolar-l disorder." Tr.582. Global Assessment of Functioning

("GAF") scores recorded during Plaintiff's various treatment sessions and evaluations ranged

from a low of 50 to a high of 65, with most scores in the 55-60 range. Tr. 482, 581,631, 639,

843, 849, 846, 852, 856.'

       In the course of addressing Plaintiff's mental health impairments, the ALJ reviewed a

July 2010 document titled "Certificate of Disability" issued on the letterhead of the Charleston

Dorchester Mental Health Center and prepared by Plaintiff's mental health counselor and case

manager, Thais Ponder. Tr. 861. The Certificate indicates that the "applicant's disability" was

based upon her diagnosis with PTSD. Id. The administrative record also includes a "To Whom

it May Concern" letter dated August 1, 2011, also signed by Ms. Ponder, which indicates that

Plaintiff had a primary diagnosis ofPTSD and a secondary diagnosis of mood disorder. Tr.860.

This document further indicates that Plaintiff was under the regular care of Dr. Denise Cornish-

McTighe, a psychiatrist, and was also receiving weekly counseling sessions from Ms. Ponder.

Id. As mentioned above, the record also contains numerous treatment records from the




         , A GAF score between 51 - 60 indicates moderate psychiatric symptoms or "moderate
difficulty in social, occupational, or school functioning." Am. Psychiatric Ass'n, Diagnostic &
Statistical Manual ofMental Disorders, 32 (Text Revision 4th Ed. 2000). A OAF score of 50
reflects "serious symptoms" or "serious impairment in social, occupational, or school
functioning." Id.

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Charleston Dorchester Mental Health Center documenting Plaintiff s ongoing treatment, clinical

history, medications and diagnoses.

       The opinions of "acceptable medical sources," such as licensed physicians and

psychologists, are given special deference under Social Security regulations and under certain

circumstances are deemed controlling. 20 C.F.R. § 404.1527. Even where the opinions of

acceptable medical sources are not found to be controlling, the Commissioner pledges to weigh

those opinions in a manner that is highly deferential to treating and examining physicians. Id

The fact that providers deemed "acceptable medical sources" are given special treatment under

the Social Security Act does not mean, however, that the opinions of other providers, such as

counselors, social workers, and teachers, are to be ignored in evaluating a claim of disability.

Counselors, such as Ms. Ponder, are categorized as "other sources." The Commissioner pledges

to consider "all relevant evidence in the case record" in making a disability determination,

including evaluation of the opinions of "other sources." SSR 06-03p, 2006 WL 2263437 at 6

(August 9, 2006). The opinions of "other sources" are to be evaluated on a broad range of

factors, including the "nature and extent of the relationship," "the source's area of speciality or

expertise," the degree to which the source "presents relevant evidence" to support her opinion

and whether the evidence is consistent with other record evidence. Id at 7.

       Measured by these standards, the ALJ's statement that he noted that Ms. Ponder "is not

considered an 'acceptable medical source' ... and therefore this opinion is not accorded any

weight" is obviously inconsistent with controlling Social Security rules for evaluating the

opinions of treating counselors. Reversal is necessary so that the fact finder can weigh Ms.

Ponder's opinions in light of the standards set forth in SSR 06-03p. Moreover, in evaluating the


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evidence in the record to determine the level of support for Ms. Ponder's opinions, the fact finder

should consider the full body of Plaintiff s treatment records at the Charleston Dorchester Mental

Health Center that Ms. Ponder obviously relied on in issuing the Certificate of Disability.

       B.      The ALJ's failure to address and explain the combined effects of
               of Plaintiffs multiple mental and physical impairments.

       It is well established under Social Security law that the Commissioner, in evaluating

a claimant's application for disability, must consider the "combined effect of all the individual's

impairments without regard to whether any such impairment, if considered separately, would be

of such severity." 42 U.S.C. § 423(d)(2)(B). The Fourth Circuit has observed that "[i]t is

axiomatic that disability may result from a number of impairments which, taken separately,

might not be disabling, but whose total effect, taken together, is to render the claimant unable to

engage in substantial gainful activity." Walker v. Bowen, 889 F.2d at 50. Thus, the

Commissioner "must consider the combined effect of a claimant's impairments and not

fragmentize them." ld

       Where a claimant has multiple impairments, such as are present here, the Commissioner

is obligated to evaluate both the full scope of each impairment and the combined effect of all of

the impairments collectively. As Judge Blatt noted in Saxon v. Astrue, 662 F.Supp.2d 471,480

(D.S.C. 2009), it is critical that the Commissioner both consider and explain the combined

effects of a claimant's multiple impairments. It is not sufficient to simply state that the combined

effects of the claimant's impairments have been considered.

       In the matter before the Court, the ALJ addressed Plaintiffs mental health issues at Step

Three and concluded that they did not meet individually or in combination any of the mental



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health listings. Tr. 20. At Step Four, the ALl dispensed with any pretense of considering the

combined effects of Plaintiff's three severe mental health impairments (PTSD, depression and

mood disorder) and her six severe physical impairments (degenerative disc disease, neck pain,

irritable bowel syndrome, obesity, hypertension and interstitial cystitis). Instead, the ALl

addressed in separate and distinct paragraphs the Plaintiff's "physical impairments" and then her

"mental impairments." Tr. 20-25. This amounts to classic fragmenting of Plaintiff's

impairments without any effort to evaluate and describe the combined effect of these myriad

severe impairments. It takes little imagination to appreciate the potential significance of the

combined effects of these numerous severe impairments, recognizing that severe pain or

depression can aggravate and worsen other existing impairments.

       The failure of the ALl to address and explain the combined effects of Plaintiff's multiple

severe impairments at Step Four requires reversal and remand under Walker. On remand, the

fact finder must consider the combined and collective impairment of theses conditions and to

provide a full explanation sufficient for a reviewing court to determine if the Commissioner has

properly followed the clear statutory mandate to consider the combined effect of multiple

impairments in making a disability determination.

                                            Conclusion

       Based on the foregoing, the Court hereby REVERSES the decision of the Commissioner,

pursuant to 42 U.S.C. § 405(g), and REMANDS the matter to the Commissioner for further




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action consistent with this order. 2

        AND IT IS SO ORDERED.



                                                     Richard Mark Gergel
                                                     United States District Judge


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        2 Plaintiffs date of birth is December 23, 1965, making her nearly 49 years of age. With
the existing finding that she is limited to less than sedentary work, she will likely be deemed
disabled no later than December 23,2015, and should be evaluated promptly on remand for
eligibility for disability for persons between ages 45-49 who do not have the ability to perform
the full range of sedentary work. 20 C.F.R. Pt. 404, Subpt. P, App.2 § 200(h)(3). This is in
addition to requirement of the Commissioner to reevaluate Plaintiffs disability claim in
compliance with the Court's order.

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